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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 LAURA HERNANDEZ                                   )
                                                   )
                                Plaintiff,         )
                                                   )
                 v.                                )
                                                   )
 LOYOLA MEDICAL GROUP-BERWYN,                      )
 LOYOLA MEDICAL GROUP RIVERSIDE                    )
 MULTISPECIALTY, CHICAGO HEALTH                    )   No.
 MEDICAL GROUP, BERWYN FAMILY                      )
 MEDICINE, MPG-FAMILY AND SPORT                    )   Judge
 MEDICINE, MACNEAL PHYSICIANS                      )
 GROUP, LLC, CHICAGO HEALTH                        )   Formerly Case No. 2021 L 002378
 PROVIDERS, DUPAGE MEDICAL                         )   Circuit Court of Cook County, Illinois
 GROUP, RESURRECTION HEALTH                        )
 CARE, AMIT SHARMA, M.D.,                          )
 LAWNDALE CHRISTIAN HEALTH                         )
 CENTER, GABRIELLE WILLIAMS                        )
 BARBER, M.D., JAMES B. MELIA, M.D.,               )
 and DAVID A. BUCHANAN, M.D.,                      )
                                                   )
                                Defendants.        )

                  NOTICE OF REMOVAL OF A CIVIL ACTION AND
               SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:      Iris Y. Martinez                              James L. Bizzieri
           Clerk of the Circuit Court                    10258 S. Western Ave.
           Richard J. Daley Center, Room 1001            Suite 210
           50 West Washington Street                     Chicago, IL 60643
           Chicago, Illinois 60602                       jlbizzieri@bizzierilaw.com


         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:
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       1.      On March 10, 2021, plaintiff Laura Hernandez commenced the above civil action

against Lawndale Christian Health Center, Dr. Gabrielle Williams Barber, Dr. David Buchanan

and Dr. James B. Melia., and others, alleging medical malpractice. A copy of the state court

complaint is attached as Exhibit A. For purposes of this lawsuit, Lawndale Christian Health Center

is a private entity that receives grant money from the Public Health Service pursuant to 42 U.S.C.

§ 233. Exhibit B. In addition, Drs. Gabrielle Williams Barber, David Buchanan and James B.

Melia were acting within the scope of their employment at Lawndale Christian Health Center with

respect to the incidents referred to in the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Lawndale

Christian Health Center was a private entity receiving grant money from the Public Health Service

and that defendants Drs. Gabrielle Williams Barber, David Buchanan and James B. Melia were

acting within the scope of their employment at Lawndale Christian Health Center with respect to

the incidents referred to in the complaint. Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendants Lawndale Christian Health Center, Dr. Gabrielle Williams Barber, Dr. David Buchanan

and Dr. James B. Melia.




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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Lawndale Christian Health Center, Dr. Gabrielle Williams Barber, Dr.

David Buchanan and Dr. James B. Melia.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Michael D. Claus
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      EXHIBIT B
